Case 18-24057-RAM Doc 34-1 _ Filed 09/03/19

Label Matrix for local noticing
113C-1

Case 18-24057-RAM

Southern District of Florida
Miami

Tue Sep 3 15:58:14 EDT 2019
Account Resolution Services
Attn: Bankruptcy

Po Box 459079

Sunrise, FL 33345-9079

Bank of America
P.O. BOX 851001
Dallas, TX 75285-1001

Bankunited, Ntl Assoc
7765 Nw 148th St
Miami Lakes, FL 33016

Can Capital Asset Servicing, Inc.
c/o Mateer & Harbert, P.A.

225 E Robinson Street, Suite 600
PO Box 2854

Orlando, FL 32802-2854

Capital One Auto Finance
Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130-0285

Chase Card Services
Correspondence Dept

Po Box 15298

Wilmington, DE 19850-5298

Dillards Card Srvs/Wells Fargo Bank Na
Po Box 10347
Des Moines, IA 50306-0347

Greensky, LLC
1797 N.E. Expressway, Suite 100
Atlanta, GA 30329-2451

Un Portfolio Debt Equities, LLC
Attn: Bankruptcy

5757 Phantom Dr. Ste 225
Hazelwood, MO 63042-2429

Synchrony Bank

PRA Receivables Management, LLC
c/o Valerie Smith

PO Box 41021

Norfolk, VA 23541-1021

(p)BB AND T
PO BOX 1847
WILSON NC 27894-1847

Bank of America, N.A.
P 0 Box 982284
El Paso, TX 79998-2284

Bureaus Investment Group Portfolio No 15 LLC
c/o PRA Receivables Management, LLC

PO Box 41021

Norfolk VA 23541-1021

Can Capital, Inc.

414 West 14th Street
3rd Floor

New York, NY 10014-1013

Castle Credit Corp

Attn: Bankruptcy

8430 W Bryn Mawr Ave , Ste 750
Chicago, IL 60631-3475

Citibank/Best Buy

Attn: Bankruptcy

Po Box 790441

St. Louis, MO 63179-0441

Edgeucation Loans
2917 Highwoods Blvd
Raleigh, NC 27604-1004

Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346

Jonmichael Zayas
Gregory S. Stark, Esq.
Todd Miner Law

915 Outer Rd

Orlando, FL 32814-6433

Page 1of3

@ Money Source Inc.
c/o Frederic DiSpigna
100 West Cypress Creek Rd #1045
Fort Lauderdale, FL 33309-2191

(p) BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238

Bank of America, N.A.

c/o Cooling & Winter, LLC
7901 SW 6th Court

Suite 310

Plantation, FL 33324-3283

CAN Capital, Inc.

2015 Vaugnn RD

Bldg 500

Kennesaw, GA 30144-7831

Capital One

Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130-0285

Chase Bank USA, N.A.

c/o Robertson, Anschutz & Schneid, P.L.
6409 Congress Avenue, Suite 100

Boca Raton, FL 33487-2853

Department Stores National Bank
c/o Quantum3 Group LLC

PO Box 657

Kirkland, WA 98083-0657

(p)GATEWAY ONE LENDING & FINANCE LLC
175 N RIVERVIEW DRIVE
ANAHEIM CA 92808-1225

Intl Rescue
122 East 42nd St
New York, NY 10168-1201

Kohls/Capital One

Kohls Credit

Po Box 3120

Milwaukee, WI 53201-3120
Case 18-24057-RAM Doc, 34-1 Filed 09/03/19

Loancare Servicing Ctr
3637 Sentara Way
Virginia Beach, VA 23452-4262

Macy's
P.O. BOX 8218
Mason, OH 45040-8218

Office of the US Trustee
51 S.W. 1st Ave.

Suite 1204

Miami, FL 33130-1614

Portfolio Recovery
Po Box 41021
Norfolk, VA 23541-1021

Radiology Associates/Collection Informat
Attn: Bankruptcy

202 North Federal Highway

Lake Worth, FL 33460-3438

Suntrust Bank/GreenSky
Attn: Bankruptcy

Po Box 29429

Atlanta, GA 30359-0429

Synchrony Bank
P.O. Box 965036
Orlando, FL 32896-5036

T Mobile/T-Mobile USA Inc

by American InfoSource as agent
PO Box 248848

Oklahoma City, OK 73124-8848

The Bureaus Inc

Attn: Bankruptcy

650 Dundee Rd, Ste 370
Northbrook, IL 60062-2757

(p) TOYOTA MOTOR CREDIT CORPORATION
PO BOX 8026
CEDAR RAPIDS IA 52408-8026

MOHELA/Debt of Ed
Attn: Bankruptcy
633 Spirit Dr
Chesterfield, MO 63005-1243

Mercantile Adjustment Bureau
165 Lawrence Bell Drive
Suite 100

Buffalo, NY 14221-7900

PARAGON CONTRACTING SERVICES
PO Box 1123
Minneapolis, MN 55440-1123

(p)PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

SYNCHRONY BANK

c/o Weinstein & Riley, PS
2001 Western Ave., Ste 400
Seattle, WA 98121-3132

Syncb/Lowe’ s
POB 956005
Orlando, FL 32896-6005

Synchrony Bank/Care Credit
Attn: Bankruptcy Dept

Po Box 965061

Orlando, FL 32896-5061

Target

Target Card Services
Mail Stop NCB-0461
Minneapolis, MN 55440

The Money Source
PO Box 650094
Dallas, TX 75265-0094

Toyota Motor Credit Corporation
c/o Becket and Lee LLP

PO Box 3001

Malvern PA 19355-0701

Page 2 013

Associates
1930 Olney Ave
Cherry Hill, NJ 08003-2016

Midland Funding
2365 Northside Dr Ste 300
San Diego, CA 92108-2709

Paragon Contracting Service Inc.
POB 740022
Cincinnati, OH 45274-0022

Quantum3 Group LLC as agent for
JH Portfolio Debt Equities LLC
PO Box 788

Kirkland, WA 98083-0788

Space Coast Credit Union
Attn: Bankruptcy

8045 North Wickham Road
Melbourne, FL 32940-7920

Syncb/hhgreg

Attn: Bankruptcy

Po Box 965060

Orlando, FL 32896-5060

Synchrony Bank/Lowes
Attn: Bankruptcy Dept
Po Box 965060

Orlando, FL 32896-5060

Team Health, Inc.

1643 NW 136th Avenue
Building 4

Sunrise, FL 33323-2857

The Money Source Inc.
500 South Broad St., Suite 100A
Meriden, CT 06450-6755

UNITED STATES DEPARTMENT OF EDUCATION
CLAIMS FILING UNIT

PO BOX 8973

MADISON, WI 53708-8973
Case 18-24057-RAM Doc.34-1. Filed 09/03/19 Page 3 of 3
US Dept of Education US Deptartment of Education/Great Lakes isa Dept Store National Bank/Macy’s
Attn: Bankruptcy Attn: Bankruptcy Attn: Bankruptcy
Po Box 16448 Po Box 7860 Po Box 8053
Saint Paul, MN 55116-0448 Madison, WI 53707-7860 Mason, OH 45040-8053
World Omni Financial Corp (p) WYNDHAM CONSUMER FINANCE INC Llunaisy Acanda
Attn: Bankruptcy P O BOX 97474 19600 NW 41st Avenue
Po Box 991817 LAS VEGAS NV 89195-0001 Miami Gardens, FL 33055-1862

Mobile, AL 36691-8817

Nancy K. Neidich Robert Sanchez Esq
www. ch 3miami.com 355 W 49 St.
POB 279806 Hialeah, FL 33012-3715

Miramar, FL 33027-9806

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

BB&T Bank Of America Gateway One Lending & Finance
Attn: Bankruptcy Attn: Bankruptcy Attn: Bankruptcy
Po Box 1847 Po Box 982238 160 North Riverview Dr. Ste 100
Wilson, NC 27894 El Paso, TX 79998 Anaheim, CA 92808
Portfolio Recovery Associates, LLC Toyota Financial Services Wyndham Vacation Ownership
POB 41067 Attn: Bankruptcy Attn: Bankruptcy
Norfolk VA 23541 Po Box 8026 Po Box 98940
Cedar Rapids, IA 52409 Las Vegas, NV 89193

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Miami End of Label Matrix
Mailable recipients 67
Bypassed recipients 1
Total 68
